
IN RE: Tony Peters applying for Writ of Certiorari from the Fourteenth Judicial *645District Court, Parish of Calcasieu, No. 2588-72, Division “E”.
Granted. The ruling of the trial court is set aside and the case is remanded to the trial court for reconsideration in light of State ex rel. Becnel v. Blackburn, 410 So.2d 1015 (La.1982).
MARCUS, J., dissents from the order. See my dissent in State ex rel. Becnel v. Blackburn, 410 So.2d 1015 (La.1982).
BLANCHE, J., dissents for reasons assigned in Becnel.
LEMMON, J., dissents for reasons assigned in Becnel.
